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 8   LANDMARK INVESTMENT LLC
 9
                          UNITED STATES DISTRICT COURT
10
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
11

12   RELEVANT GROUP, LLC, a Delaware             Case No. 2:19-cv-05019-ODW
     limited liability company; 1541 WILCOX      (KSx)
13   HOTEL LLC, a Delaware limited liability
     company; 6516 TOMMIE HOTEL LLC, a           [Hon. Judge Otis D. Wright, II]
14   Delaware limited liability company; and
     6421 SELMA WILCOX HOTEL LLC, a              DECLARATION OF STEPHAN
15   California limited liability company,       “SAEED” NOURMAND IN
                                                 SUPPORT OF DEFENDANTS
16                     Plaintiffs,               STEPHAN NOURMAND AND
                                                 THE SUNSET LANDMARK
17               v.                              INVESTMENT LLC’S MOTION
18   STEPHAN “SAEED” NOURMAND, an                FOR SANCTIONS AGAINST
     individual; MICHAEL B. NOURMAND, an         PLAINTIFFS AND THEIR
19   individual; THE SUNSET LANDMARK             COUNSEL OF RECORD
     INVESTMENT LLC, a California limited
20   liability company; NOURMAND &               [Notice of Motion, Motion,
     ASSOCIATES, a California corporation; and   Memorandum of Points &
21   DOES 1-10,                                  Authorities, Declarations of Jayesh
                                                 Patel, Kathleen C. Hipps, Myra
22                     Defendants.               Nourmand, and Request for Judicial
                                                 Notice Filed Concurrently Herewith;
23                                               [Proposed] Order Submitted
24
                                                 Concurrently Herewith]

25                                               Hearing
                                                 Date:       November 25, 2019
26                                               Time:       1:30 p.m.
                                                 Crtrm:      5D
27

28                                               Complaint Filed: June 10, 2019

     DECLARATION OF STEPHAN “SAEED” NOURMAND               CASE NO. 2:19-cv-05019-ODW
DocuSign Envelope ID: F87767FF-7749-4A75-9795-B78A558A8463
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           1                     DECLARATION OF STEPHAN “SAEED” NOURMAND
           2              I, Stephan “Saeed” Nourmand, declare as follows:
           3              1.      I am the managing member of THE SUNSET LANDMARK
           4     INVESTMENT LLC (“Sunset”). I am familiar with the finances of Sunset and, if
           5     called upon as a witness, I could and would competently testify thereto.
           6              2.        Attached hereto as Exhibit “A” is a true and correct copy of a bank
           7     statement showing the dates and amounts of wire transfers that Sunset received from
           8     1541 WILCOX HOTEL LLC (“Wilcox”) in 2018 (with account numbers redacted for
           9     privacy).
          10

          11              I declare under penalty of perjury under the laws of the United States of
          12     America, that the foregoing is true and correct.
          13              Executed this 30th day of August, 2019, at Los Angeles, California.
          14

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          16
                                                                  Stephan “Saeed” Nourmand, declarant

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                 DECLARATION OF STEPHAN “SAEED” NOURMAND                     CASE NO. 2:19-cv-05019-ODW
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               EXHIBIT A
Case 2:19-cv-05019-ODW-KS Document 34-3 Filed 10/21/19 Page 4 of 6 Page ID #:1448
Case 2:19-cv-05019-ODW-KS Document 34-3 Filed 10/21/19 Page 5 of 6 Page ID #:1449
Case 2:19-cv-05019-ODW-KS Document 34-3 Filed 10/21/19 Page 6 of 6 Page ID #:1450
